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IN THE UNITED STATES DISTRICT COURT _\
FOR THE WESTERN DISTRICT oF TENNESSEE UMSAUG‘{"AH||=ZZ
WESTERN DIVISION \\
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C ' U.§.Bi§ l‘, '_
UNITED STATES oF AMERICA, W!D O;~TP\',!*,~‘=?;~
Plaintiff,
vs. Cr. No. 04-20419-D
MILTON COLLINS,
Defendant.
§ §§ '£\ ORDER GRANTING APPLICATION FOR WRIT
§ §§ OF HABEAS CORPUS AD TESTIFICANDUM
._A ‘T‘ 111
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§ §§HIS QSUSE having come before this Court upon the petition of
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§the g%fendiht for an order directing a Writ of Habeas Corpus Ad
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mdTestificandum,

and for good cause shown,

the court hereby GRANTS
the motion.

David G. Jolley, United States Marshal for the Western

District of Tennessee, is hereby commanded to have Ervin Moore, No.

05113071, date of birth January 14, 1967, who is Confined at the

Shelby County Jail at 201 Poplar, Memphis, Tennessee in the custody

of Sheriff Mark Luttrell, brought before United States District

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Court Bernice Donald in Court on Wednesday, May 4, 2005, at 3§308 4
p.m.

IT IS SO ORDERED.

DATE 3 2002-f iiide

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Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:04-CR-204]9 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

April Rose Goode

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Honorable Bernice Donald
US DISTRICT COURT

